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12   dkrieger@hainesandkrieger.com
     Class Counsel
13
14                          UNITED STATES DISTRICT COURT
15                               DISTRICT OF NEVADA
16
         Joseph J. Smith, on behalf of                      Case No.: 2:16-cv-02156-GMN-NJK
17       himself and all others similarly
18       situated,                                          DECLARATION OF DAVID H.
                                                            KRIEGER IN SUPPORT OF MOTION
19                       Plaintiff,                         FOR FINAL APPROVAL OF CLASS
20       v.                                                 ACTION SETTLEMENT
21       One Nevada Credit Union,                           Hearing: March 5, 2019
22                                                          Time: 11:00 am
                         Defendant.                         Courtroom: 7D
23
24                                                          Chief Judge Gloria M. Navarro
25
26                            DECLARATION OF DAVID H. KRIEGER

27   I, David H. Krieger, declare:

28   1. I am a resident of Clark County, Nevada, and a partner in the law firm of Haines &


     ________________________________________________________________________________________________________
     KRIEGER DEC.                                   !1                      Case No.: 2:16-cv-02156-GMN-NJK
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 1          Krieger, LLC, counsel for the Plaintiff in this matter.
 2   2. I am writing this declaration in support of the Motion for Final Approval of Class
 3          Action Settlement in this case.
 4   3. I am competent to testify to the facts stated herein, which are based on personal
 5          knowledge unless otherwise indicated, and if called upon to testify, I could and would
 6          testify competently to the following.
 7   4. I am a managing member of Haines & Krieger, LLC (“Haines & Krieger”). I have
 8          been licensed to practice law in Nevada since 2005. I have been licensed to practice
 9          law in New Jersey since 2002.
10                                  RISKS OF CONTINUED LITIGATION
11   5. The named Plaintiff and his counsel believe that the claims asserted in the actions
12          have merit.
13   6. Taking into account the burdens, uncertainty and risks inherent in this litigation,
14          Plaintiff’s counsel have concluded that further prosecution of this action through trial
15          would be protracted, burdensome, and expensive, and that it is desirable, fair, and
16          beneficial to the settlement class that the action now be fully and finally
17          compromised, settled and terminated in the manner and upon the terms and conditions
18          set forth in the Settlement Agreement.
19                                            CLAIMS PROCESS
20   7. Class Members were provided 90 days to make a claim for a settlement payment.
21   8. The procedure for submitting a claim was made as easy as possible: a claim form
22          could be submitted online through the settlement website or by US Mail.
23   9. I was informed by the Claims Administrator, KCC, that there were 12,213 timely
24          claims, four requests for exclusion and no objections.
25   10. I am also unaware of any objections from any Attorneys General.
26   ///
27   ///
28

     ________________________________________________________________________________________________________
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 1   I declare under penalty of perjury that the foregoing is true and correct.
 2   EXECUTED this 5th day of February 2019.
 3
                                               By: /s/ David H. Krieger
 4                                                David H. Krieger
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     KRIEGER DEC.                                   !3                      Case No.: 2:16-cv-02156-GMN-NJK
